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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1352V
                                   Filed: December 13, 2017
                                        UNPUBLISHED


    GARY D. ROBINSON,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Guillain-Barre
                                                             Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Milton Clay Ragsdale, IV, Ragsdale, LLC, Birmingham, AL, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On November 10, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as
a result of his November 12, 2012 influenza (“flu”) vaccination. Petition at 1; Stipulation,
filed December 12, 2017, at ¶¶ 2, 4. Petitioner further alleges that the vaccine was
administered within the United States, that he suffered the residual effects of his injury
for more than six months, and that there has been no prior award or settlement of a civil
action on his behalf as a result of his injury. Stipulation at ¶¶ 3-5; see Petition at ¶¶ 2,
15-16. “Respondent denies that petitioner’s alleged GBS and residual effects were
caused-in-fact by the flu vaccine, and denies that the flu vaccine caused petitioner any
other injury or his current condition.” Stipulation at ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on December 12, 2017, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        a.       A lump sum of $220,000.00 in the form of a check payable to
                 petitioner; and

        b.       An amount sufficient to purchase the annuity contract described
                 in paragraph 10 of the attached joint stipulation, paid to the life
                 insurance company from which the annuity will be purchased (the
                 “Life Insurance Company”). Stipulation at ¶ 8.

        These amounts represent compensation for all items of damages that would be
        available under 42 U.S.C. § 300aa-15(a). Stipulation at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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